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                        CITY OF ATLANTA
                               D E P A R T M E N T              O F     L A W
 ANDRE DICKENS                             SUITE 5000 ● CITY HALL                     NINA R. HICKSON
      Mayor                   55 TRINITY AVENUE, S.W., ATLANTA, GEORGIA 30303-3520      City Attorney
                                            (404) 546-4100 MAIN



 TO:            DISTRICT JUDGE’S COURTROOM DEPUTY

 FROM:          STACI J. MILLER

 DATE:          March 21, 2022

 RE:            REQUEST FOR LEAVE OF ABSENCE
                VARIOUS CASES

       COMES NOW, Staci J. Miller and respectfully requests of all judges before whom she

has cases pending, all affected Clerks of Court and all opposing counsel as detailed in Exhibit A

attached hereto, Pursuant to Local Rule 83, that she be allowed to take leave as follows:

       1.      The period of leave during which time Applicant requests to be away from the

               practice of law is as follows:

               April 25 - 29, 2022
               May 23 – 27, 2022
               September 5 – 9, 2022

       The purpose for said vacation and CLE courses.




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    2.     All affected Judges and opposing counsel shall have ten (10) days from the date of

           this Notice to object to it. If no objections are filed, the leave shall be granted.

    Respectfully submitted this 21st day of March 2022.

                                                   /s/ Staci J. Miller
                                                   STACI J. MILLER
                                                   Attorney
                                                   Georgia Bar No. 601594
                                                   (404) 546-4083 Direct
                                                   sjmiller@atlantaga.gov

                                                   Attorney for City of Atlanta

CITY OF ATLANTA DEPARTMENT OF LAW
55 Trinity Avenue, SW, Suite 5000
Atlanta, Georgia 30303-3520
Telephone: (404) 546-4100
Fax: (404) 588-3239




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                                  EXHIBIT “A”
                             FULTON SUPERIOR COURT

Bates, Brenda (as          Honorable Amy Totenberg           Tanya F. Miller
Representative of the      Senior United States District     DuBose Miller LLC
Estate of Jimmy            Judge                             75 14th NE, Suite 2110
Atchinson) and James,      2388 Richard B. Russell Federal   Atlanta, GA 30309
Lakeisha v. COA, et al.    Building and US Courthouse
Civil Action No.           75 Ted Turner Drive, SW
1:20-cv-04074-AT           Atlanta, GA 30303-3309
                           Courtroom: 2308
                           Chambers: 2388
Blasingame, Jerry v.       Honorable Steve C. Jones          Conrad J. Benedetto
Officer J. Grubbs &        United States District Judge      Benedetto Law
COA/Atlanta Police Dept.   2167 Richard B. Russell Federal   1615 S. Broad Street
Civil Action No.           Building and U.S. Courthouse      Philadelphia, PA 19148
1:19-cv-02047-SCJ          75 Ted Turner Drive, SW
                           Atlanta, GA 30303-3309            Darren Michael Tobin
                           Courtroom: 1907                   Tobin Injury Law
                           Chambers: 1967                    49B Lenox Pointe
                                                             Atlanta, GA 30324
                                                             Email: darren@tobininjurylaw.com

                                                             Solomon M. Radner
                                                             sradner@venjohnsonlaw.com
                                                             Vernon R. Johnson
                                                             Johnson Law, PLC
                                                             535 Griswold St
                                                             Suite 2632
                                                             Detroit, MI 48226

Brown, Zabora and          Honorable Michael L. Brown        Shean D. Williams, Esq.
Antraveious Payne v.       United States District Judge      swilliams@cochranfirmatl.com
COA                        1942 Richard B. Russell Federal   Samuel L. Starks, Esq.
Civil Action File No.      Building and U.S. Courthouse      sstarks@cochranfirmatl.com
1:17-cv-04850-MLB          75 Ted Turner Drive, SW           THE COCHRAN FIRM –
                           Atlanta, Georgia 30303-3309       ATLANTA
                           Courtroom: 1906                   100 Peachtree Street, NW
                           Chambers: 1942                    Suite 2600
                                                             Atlanta, Georgia 30303
Goldring, Julius v. Henry, Honorable William M. Ray, II      Zack Greenamyre
Vladimir and Restrepo,     United States District Judge      zack@mitchellshapiro.com
Juan                                                         MITCHELL & SHAPIRO LLP

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Civil Action No.            2167 Richard B. Russell Federal      3490 Piedmont Road, Suite 650
1:18-cv-01191-WMR           Building and U.S. Courthouse         Atlanta, Georgia 30305
                            75 Ted Turner Drive, SW
                            Atlanta, GA 30303-3309               Jeffrey Filipovits
                            Courtroom: 1705                      jeff@civil-rights.law
                            Chambers: 1721                       Spears & Filipovits, LLC
                                                                 1126 Ponce de Leon Ave.
                                                                 Atlanta, Georgia 30306

                                                                 Miguel Domingues
                                                                 mdominguez@forthepeople.com
                                                                 MORGAN & MORGAN
                                                                 191 Peachtree Street NE
                                                                 Suite 4200
                                                                 Atlanta, Georgia 30303

Malone, Audrey v. COA       Honorable Timothy C. Batten, Sr.     Audrey Malone (PRO SE)
Civil Action No.            Chief United States District Judge   Missmalone28@yahoo.com
1:19-cv-5248-TCB            2142 Richard B. Russell Federal      914 Westmoreland Circle NW
                            Building and U.S. Courthouse         Atlanta, GA 30318
                            75 Ted Turner Drive, SW              (404) 825-1222
                            Atlanta, GA 30303-3309
                            Courtroom: 2106
                            Chambers: 2142
McKinnon, Latravia v.       Honorable Timothy C. Batten, Sr.     Joshua A. Millican
COA                         Chief United States District Judge   jmillican@lawofficejam.com
Civil Action No. 1:18-cv-   2142 Richard B. Russell Federal      Law Office of Joshua A. Millican,
05480-TCB-RGV               Building and U.S. Courthouse         P.C.
                            75 Ted Turner Drive, SW              The Grant Building, Suite 607
                            Atlanta, GA 30303-3309               44 Broad Street, N.W.
                            Courtroom: 2106                      Atlanta, GA 30303
                            Chambers: 2142
                                                            Lisa T. Millican
                                                            Lisa.millican@lawofficepc.com
                                                            Greenfield Millican P.C.
                                                            885 Glen Arden Way
                                                            Atlanta, GA 30306
Rogers, Melva (natural      Honorable Michael L. Brown      Omari J. Crawford
parents of Deravis Caine    United States District Judge    ojcrawford@dekalbcountyga.gov
Rogers, deceased) v. COA    1942 Richard B. Russell Federal Dekalb County Law Department
et al.                      Building and U.S. Courthouse    5th Floor
Civil Case No.              75 Ted Turner Drive, SW         1300 Commerce Dr.
1:16-cv-02578-MLB           Atlanta, GA 30303-3309          Decatur, GA 30030
                            Courtroom: 1906

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                            Chambers: 1942                    Samuel L. Starks
                                                              sstarks@cochranlawfirmatl.com
                                                              Shean DeCarlos Williams
                                                              swilliams@cochranlawfirmatl.com
                                                              The Cochran Law Firm – Atlanta
                                                              Suite 2600 / The Equitable Building
                                                              100 Peachtree Street N.W.
                                                              Atlanta, GA 30303

                                                            Mecca Shali Anderson
                                                            mecca@wernerlaw.com
                                                            The Werner Law Firm
                                                            2860 Piedmont Road NE
                                                            Atlanta, GA 30305
Stidwell, Sparkle (by and   Honorable Mark H. Cohen         Dianne J. Lee
through her Mother as       United States District Judge    dlee@smstrial.com
next friend) Phillips,      1921 Richard B. Russell Federal Larry Christopher Stewart
Deaunna v. Abdulahad,       Building and U.S. Courthouse    cstewart@stewarttrial.com
Yasin and Fulton County     75 Ted Turner Drive, SW         Stewart Trial Attorneys, LLC
DA                          Atlanta, GA 30303-3309          55 Ivan Allen Jr. Blvd., Suite 700
Civil Action No.            Courtroom: 1905                 Atlanta, GA 30308
1-19-cv-00401-MHC           Chambers: 1921
                                                            George Brian Spears
                                                            bspears@brianspearslaw.com
                                                            Jeffrey Filipovits
                                                            jrfilipovits@gmail.com
                                                            Spears & Filipovits, LLC
                                                            1126 Ponce de Leon Ave NE
                                                            Atlanta, GA 30306

Sylvester, Keith A. v.      Honorable Leigh Martin May        Samantha Jill Funt
COA et al.                  United States District Judge      sam@mitchellshapiro.com
Civil Action No.            2167 Richard B. Russell Federal   Zack Greenamyre
1:19-cv-04300-LMM-JKL       Building and U.S. Courthouse      zack@mitchellshapiro.com
                            75 Ted Turner Drive, SW           Mitchell & Shapiro LLP
                            Atlanta, GA 30303-3309            3490 Piedmont Road
                            Courtroom: 2107                   Suite 650
                            Chambers: 2167                    Atlanta, GA 30305




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